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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 17-7033-GW(MRWx)                                             Date      June 26, 2018
 Title             Bragel International, Inc. v. Charlotte Russe, Inc., et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                              None Present
                 Deputy Clerk                         Court Reporter / Recorder                    Tape No.
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                         None Present                                            None Present
 PROCEEDINGS:                IN CHAMBERS - FINAL RULING MARKMAN HEARING


Attached hereto is the Court’s Final Ruling on Markman Claims Construction.

The Court sets a scheduling conference for July 5, 2018 at 8:30 a.m. Parties may appear telephonically
provided advanced notice is given to the clerk.




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                                                                 Initials of Preparer   JG
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  Bragel International, Inc. v. Charlotte Russe, Inc. et al; Case No. LA CV17-07033-GW-(MRWx)
  Final Ruling on Markman Claims Construction




  I. INTRODUCTION
         Plaintiff Bragel International, Inc. (“Bragel” or “Plaintiff”) accuses Defendants Charlotte
  Russe, Inc., Charlotte Russe Merchandising, Inc., and Charlotte Russe Administration, Inc.
  (collectively, “Charlotte Russe” or “Defendants”) of infringing U.S. Patent No. 6,780,081 (“the
  ’081 Patent”). Docket No. 1. Defendants, in turn, have alleged non-infringement and invalidity
  of the ’081 Patent. See Docket No. 24 (Defendant’s Counterclaim). The ’081 Patent issued on
  August 24, 2004 and generally relates to a backless, strapless bra. See ’081 Patent at 1:5-8.
         The parties submitted a revised Joint Claim Construction Chart on May 17, 2018 seeking
  construction of seven claim terms. Docket No. 36. On June 1, 2018, the parties filed opening
  briefs in support of their claim construction positions. See Docket No. 38 (Plaintiff’s Opening
  Claim Construction Brief); Docket No. 37 (Defendants’ Opening Claim Construction Brief).
  The parties filed responsive briefs on June 12, 2018. See Docket No. 40 (Plaintiff’s Responsive
  Claim Construction Brief); Docket No. 39 (Defendants’ Responsive Claim Construction Brief).
         The Court would construe the disputed terms as set forth herein.
  II. LEGAL STANDARD
         Claim construction is an interpretive issue “exclusively within the province of the court.”
  Markman v. Westview Instruments, Inc., 517 U.S. 370, 372 (1996). It is “a question of law in the
  way that we treat document construction as a question of law,” with subsidiary fact-finding
  reviewed for clear error pursuant to Fed. R. Civ. P. 52(a)(6). Teva Pharms. USA, Inc. v. Sandoz,
  Inc., 135 S.Ct. 831, 837-40 (2015). The claim language itself is the best guide to the meaning of
  a claim term. See Vederi, LLC v. Google, Inc., 744 F.3d 1376, 1382 (Fed. Cir. 2014). This is
  because the claims define the scope of the claimed invention. Phillips v. AWH Corp., 415 F.3d
  1303, 1312 (Fed. Cir. 2005). But a “person of ordinary skill in the art is deemed to read the
  claim term not only in the context of the particular claim in which the disputed term appears, but
  in the context of the entire patent.” Id. at 1313. Thus, claims “must be read in view of the
  specification,” which is “always highly relevant to the claim construction analysis.” Phillips,
  415 F.3d at 1315 (internal quotations omitted).


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         Although claims are read in light of the specification, limitations from the specification
  must not be imported into the claims. Abbott Labs. v. Sandoz, Inc., 566 F.3d 1282, 1288 (Fed.
  Cir. 2009). “[T]he line between construing terms and importing limitations can be discerned
  with reasonable certainty and predictability if the court’s focus remains on understanding how a
  person of ordinary skill in the art would understand the claim terms.” Phillips, 415 F.3d at 1323.
         The prosecution history may lack the clarity of the specification, but it is “another
  established source of intrinsic evidence.” Vederi, 744 F.3d at 1382. “Like the specification, the
  prosecution history provides evidence of how the PTO and the inventor understood the patent.”
  Phillips, 415 F.3d at 1317 (citations omitted).        “Furthermore, like the specification, the
  prosecution history was created by the patentee in attempting to explain and obtain the patent.”
  Id. “Yet because the prosecution history represents an ongoing negotiation between the PTO and
  the applicant, rather than the final product of that negotiation, it often lacks the clarity of the
  specification and thus is less useful for claim construction purposes.” Id.
         Claim construction usually involves resolving disputes about the “ordinary and
  customary meaning” that the words of the claim would have had “to a person of ordinary skill in
  the art in question at the time of the invention.”       Phillips, 415 F.3d at 1312-13 (internal
  quotations and citations omitted). But in some cases, claim terms will not be given their ordinary
  meaning because the specification defines the term to mean something else. “[A] claim term
  may be clearly redefined without an explicit statement of redefinition,” so long as a person of
  skill in the art can ascertain the definition by a reading of the patent documents. Id. at 1320; see
  also Trustees of Columbia Univ. in City of New York v. Symantec Corp., 811 F.3d 1359, 1364
  (Fed. Cir. 2016).
         Where the patent itself does not make clear the meaning of a claim term, courts may look
  to “those sources available to the public that show what a person of skill in the art would have
  understood disputed claim language to mean,” including the prosecution history and “extrinsic
  evidence concerning relevant scientific principles, the meaning of technical terms, and the state
  of the art.” Phillips, 415 F.3d at 1314 (internal quotations omitted). Sometimes, the use of
  “technical words or phrases not commonly understood” may give rise to a factual dispute, the
  determination of which will precede the ultimate legal question of the significance of the facts to
  the construction “in the context of the specific patent claim under review.” Teva, 135 S. Ct. at
  841, 849. “In some cases, the ordinary meaning of claim language as understood by a person of

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  skill in the art may be readily apparent even to lay judges, and claim construction in such cases
  involves little more than the application of the widely accepted meaning of commonly
  understood words.”         Phillips, 415 F.3d at 1314.            “In such circumstances, general purpose
  dictionaries may be helpful.” Id.
  III. ANALYSIS
           A. “Thermoplastic film material” (Claims 1, 2) and “pressure sensitive adhesive layer”
              (Claims 1, 11, and 12)

         Term              Plaintiff’s Proposed Construction                    Defendants’ Proposed
                                                                                     Construction
  “thermoplastic           Plain and ordinary meaning                    “a sheet of non-fabric plastic film
  film material”                                                         comprising at least part of the bra
  (Claims 1, 2)            Original alternative construction:            cup, that can be adjoined to a
                           “any sheet of material comprising             variety of different fabrics or other
                           of thermoplastic (capable of                  materials of the bra cup, including
                           softening or fusing when heated               the separate pressure sensitive
                           and of hardening again when                   adhesive layer disposed on the
                           cooled)”1                                     interior surface of the bra cup”

  “pressure                “a layer of any type of pressure              “a layer of any type of pressure
  sensitive adhesive       sensitive adhesive that is suitable           sensitive adhesive that is suitable
  layer” (Claims 1,        for removably attaching a breast              for removably attaching a breast
  11, 12)                  form to a user’s skin”                        form to a user’s skin”



           The core dispute permeating the parties’ claim construction briefs relates to whether the
  “thermoplastic film material” recited in the ’081 Patent claims must be a separate “structure”
  from the claimed “pressure sensitive adhesive layer.” The Court will thus construe these terms
  together.     The parties’ also dispute what materials can constitute the “thermoplastic film
  material” and “pressure sensitive adhesive layer.”
           a)       Whether the Two Claim Terms Relate to Separate Components
           Both terms appear in Claim 1, which states,
           1.       An improved backless, strapless bra comprising:
                    a pair of bra cups, wherein each bra cup comprises:

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    In the parties’ Joint Claim Construction Chart, for almost all of the disputed claim terms, Plaintiff proposed
  alternative constructions that allegedly reflect the term’s plain and ordinary meaning. As Defendants observe (see
  Docket 39 at 1), however, in Plaintiff’s opening claim construction brief, Plaintiff does not maintain these
  alternative constructions in its claim construction charts. Plaintiff simply references them in its analysis. The Court
  includes these alternative proposed constructions in its Order for completeness. However, as will be further
  explained herein, they do not impact the Court’s final determinations regarding the meanings of the disputed terms.

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                a concave interior surface, the interior surface facing towards a user’s
                       breast, and an exterior surface facing opposite the interior surface,
                       wherein substantially the entire interior surface from edge to edge
                       comprises a pressure sensitive adhesive layer disposed thereon for
                       adjoining the bra cup to the user’s breast;
                a thermoplastic film material supporting the pressure sensitive adhesive
                       layer;
                an outer side facing towards the user’s armpit, and an inner side facing
                       opposite the outer side, wherein the bra cup is secured to the user’s
                       breast solely by the pressure sensitive adhesive layer; and
                a connector adapted to adjoin the bra cups, wherein the connector is
                       positioned between the inner sides of each of the bra cups.

  ’081 Patent, Claim 1 (emphasis added). The terms also appear in some of the dependent claims:
         2.      The bra of claim 1 wherein the thermoplastic film material defines the
         interior surface.
                 *                           *                            *
         11.     The bra of claim 1 wherein the pressure sensitive adhesive layer has an
         adhesion force to the interior surface of the bra cups that is greater than a
         cohesion force to the user’s skin.

         12.   The bra of claim 11 wherein the pressure sensitive adhesive layer is
         permanently grown to the interior surface of the bra cups.

  Id. at Claims 2, 11, and 12 (emphasis added).

         The separate use of the terms “thermoplastic film material” and “pressure sensitive
  adhesive layer” in the claims suggests that they relate to different components. See Ethicon
  Endo-Surgery, Inc. v. U.S. Surgical Corp., 93 F.3d 1572, 1579 (Fed. Cir. 1996) (“If the terms
  ‘pusher assembly’ and ‘pusher bar’ described a single element, one would expect the claim to
  consistently refer to this element as either a ‘pusher bar’ or a ‘pusher assembly,’ but not both,
  especially not within the same clause.”). Indeed, like Ethicon, the terms are used in the same
  limitation of Claim 1 where it states, “a thermoplastic film material supporting the pressure
  sensitive adhesive layer.” Contrary to Plaintiff’s argument, construing these two terms to relate
  to a single component would render this claim limitation redundant and possibly nonsensical
  (like using multiple words for “table” to explain that a table supports itself). Claim 1 also
  describes the “pressure sensitive adhesive layer” as “disposed” on the “interior surface” of the
  claimed bra cups. In dependent Claim 2, in comparison, the thermoplastic film material is
  described as “defin[ing] the interior surface” of the bra cups. The parties do not request


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  construction of the phrase “define the interior surface” in Claim 2, but the ordinary
  understanding of Claim 1 in combination with Claim 2 suggest that the thermoplastic film
  material is considered part of the interior surface on which the pressure sensitive adhesive layer
  is disposed.
         The patent specification also supports the conclusion that the thermoplastic film material
  is a separate component from the pressure sensitive adhesive layer.            For instance, in the
  Summary of the Invention section of the ’081 Patent, it states,
         [t]he present invention . . . comprises a pressure sensitive adhesive layer for
         adjoining the bra cups to the user’s skin. The pressure sensitive adhesive layer is
         adjoined to a PSA supporting layer, which can be formed from a variety of
         different types of films or fabrics.

  ’081 Patent at 2:12-17.       It further states, “the preferred pressure sensitive adhesive is
  permanently grown to a thermoplastic film that comprises a portion of the interior surface of the
  bra cups.” Id. at 2:29-31. Both of these disclosures treat the “supporting layer,” e.g., the
  “thermoplastic film material,” as a separate component in relation to the pressure sensitive
  adhesive layer.
         The ’081 Patent further explains, “[i]n the embodiment shown, the pressure sensitive
  adhesive layer can be permanently grown to the thermoplastic film material, from edge to edge
  or applied by the other methods discussed.” Id. at 4:7-10 (emphasis added); see also id. at 3:27-
  31 (explaining in the context of applying the pressure sensitive adhesive layer to the interior
  surface of the bra cups that the layer can also be applied “by other methods such as spray
  coating, hot melting, extrusion application, die application, or other methods known for applying
  a PSA to a substrate.”). The ’081 Patent then states, “[i]t is understood that the amount of
  pressure sensitive adhesive covering the interior surface of the bra cups and the amount of the
  thermoplastic film material forming the interior surface can vary depending on the desired
  design and function of the bra cups.” Id. at 4:10-14. Again, this disclosure supports the
  conclusion that the components are distinct and that the thermoplastic film material is part of the
  interior surface, while the pressure sensitive adhesive layer covers that surface.
         To the extent Plaintiff’s argument is that the pressure sensitive adhesive layer and the
  thermoplastic film material can be the same component, it is not supported by the intrinsic
  record. However, Plaintiff also seems to argue that the two components can intermingle into the
  same structure, particularly where the pressure sensitive adhesive layer is permanently grown to

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  the thermoplastic film material. Plaintiff relies on Figures 3a and 3b to support its position. See
  Docket No. 38 at 10-12. Figures 3a and 3b appear to identify both the pressure sensitive
  adhesive layer (labeled 33) and the thermoplastic film material (labeled 34) by pointing to the
  same parts of the figures:




  ’081 Patent, Figs. 3a, 3b. Figures 3a and 3b are hand-drawn and the Court doubts their exact
  accuracy. Moreover, at a close inspection, it appears that the pressure sensitive adhesive layer 33
  is identified as the very edge of the interior surface 30, while the thermoplastic film material 34
  is identified somewhere in the middle of the shaded area. Indeed, even Plaintiff notes in its
  annotations that it understands the “pressure sensitive adhesive layer is a surface of
  thermoplastic film material.” Docket No. 38 at 11.
         Plaintiff pontificates that, because in discussing Figures 3a and 3b the specification refers
  to the thermoplastic film material 34 as the “layer nearest the user that defines the interior
  surface 30” and the pressure sensitive adhesive layer 33 as “covering the interior surface of the
  bra cups,” the thermoplastic film material must be the same as the pressure sensitive adhesive
  layer. See ’081 Patent at 4:10-12, 4:24-26; id. at 12-13. Notably, these phrases state: “layer
  nearest the user that defines the interior surface” and “covering the interior surface.” Indeed,

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  the patent goes on to recite:
          The bras shown in FIGS. 3a and 3b include the entire interior surface having the
          thermoplastic film material and the pressure sensitive adhesive layer, but various
          partial configurations and designs can be achieved. It is understood that the
          interior surface can be formed from a number of other materials besides a
          thermoplastic film material. The interior surface of the bra cups serves as a
          pressure sensitive adhesive support layer. The interior surface can be formed
          from any type of film material or fabric material suitable for adjoining to a
          PSA.

  ’081 Patent at 4:27-36 (emphasis added). In other words, the patent again distinguishes the
  “interior surface” and the pressure sensitive adhesive layer adjoining the interior surface.
  Although the ’081 Patent refers to the thermoplastic film material as potentially “nearest the
  user,” it does so in the context of understanding the thermoplastic film material as part of the
  interior surface. Id. at 4:24-26. This understanding is consistent with the conclusion that the
  pressure sensitive adhesive layer is separate from the interior surface and indeed the pressure
  sensitive adhesive is still adjoined over the interior surface.
          Plaintiff also argues that Figures 3a and 3b depict an embodiment where the pressure
  sensitive adhesive layer is permanently grown. Plaintiff states that when the two components are
  “‘permanently grown’, with the introduction of heat to soften, fuse and harden again,” there is a
  change in “the density between the molecules to form one structure.” See Docket No. 38 at 12.
  Unfortunately, Plaintiff does not provide any citation for this assertion. Also tellingly, the
  parties submitted competing proposed constructions for the term “permanently grown to the
  interior surface.” There, Plaintiff had a prime opportunity to explain what the term “permanently
  grown” means and how it might inform the meaning of the terms “thermoplastic film material”
  and “pressure sensitive adhesive layer.” Instead, Plaintiff did not propose a construction and in
  explaining its position, referred to its same, unsupported sentence about “the introduction of heat
  to soft, fuse, and harden” to “change[] the density between the molecules to form one structure.”
  Id. at 26.
          The Court acknowledges Plaintiff’s (unsupported) argument that where the patent
  describes a pressure sensitive adhesive layer “permanently grown” to the interior surface, there
  may be some molecular reaction that leads to more permanent binding of the two interacting
  materials.   The Court further acknowledges that such an embodiment would result in one
  combined structure which is composed of the thermoplastic film material and pressure sensitive

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  adhesive and performs the two respective functions of those materials, including providing for
  support and adhesion. But the two separate component materials must be present as a starting
  point to satisfy the claim language. Arguing that a sole starting material could satisfy the
  requirements and do the work of both the claimed pressure sensitive adhesive layer and the
  thermoplastic film material would be contrary to the plain meaning of the claims and
  specification.
          At the hearing, Plaintiff discussed for the first time an “indirect attachment” embodiment
  wherein the thermoplastic film material and the pressure sensitive adhesive layer are separated
  by additional layers. The intrinsic evidence supports the disclosure of such an embodiment
  wherein the thermoplastic film material and the pressure sensitive adhesive layer are not directly
  adjacent layers. See ’081 Patent at 3:61-64 (“Adjoined to the plastic film material can be a
  variety of different types of fabrics or other materials, such as foams and the like.”); ’081 Patent
  at 4:18-20 (“It should be understood that the bra cup can include a variety of combinations of
  fabrics and materials that can form different layers of the bra cup.”).         Still, an “indirect
  attachment” embodiment is consistent with the conclusion that two separate component materials
  must be present as a starting point to satisfy the claim language and that the components are
  distinct and form separate structures.
          The prosecution history also supports the intrinsic evidence and the conclusion that the
  “thermoplastic film material” is a separate component from the “pressure sensitive adhesive
  layer.” The prosecution history reveals that the patent applicant added the phrase “thermoplastic
  film material supporting the pressure sensitive adhesive layer” to Claim 1 in response to the
  examiner’s § 102 and § 103 rejections. Docket No. 37-3 at 147. In responding to the examiner’s
  rejections, the applicant also stated:
          There are at least two structural limitations recited in claim 1, as amended, that
          are not disclosed by Noble et al.: (1) “substantially the entire interior surface
          comprises a pressure sensitive adhesive layer disposed thereon for adjoining the
          bra cup to the user’s breast”; and (2) “a thermoplastic film material supporting
          the pressure sensitive adhesive layer.”

  Id. (emphasis added).
          Plaintiff acknowledges the addition of the “thermoplastic film material” element to Claim
  1 during prosecution, but argues that the amendment did not necessarily require two separate
  structures and the additional language only discloses the position of the thermoplastic film

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  material – in a location supporting the pressure sensitive adhesive layer. See Docket No. 38 at
  18; Docket No. 40 at 12. Although, as noted, the Court acknowledges that the thermoplastic film
  material and pressure sensitive adhesive layer may become integrated in certain embodiments,
  the applicant specifically refers to: (1) the pressure sensitive adhesive layer and (2) the
  thermoplastic film material as “at least two structural limitations.” Docket No. 37-3 at 147. The
  applicant’s statements inform the understanding of the phrases and is consistent with the
  disclosure in the specification and claims showing that the thermoplastic film material and
  pressure sensitive adhesive layer must be separate components of the claimed invention.
           In the same breath, Plaintiff relies on statements made by the examiner in an interview
  summary to support its position and criticizes Defendants for relying on statements made by the
  examiner in the notice of allowance to support their position.                          Docket No. 40 at 13-15.
  Plaintiff’s cited statements, however, related to the examiner’s observations about a sample
  submitted by the applicant, not the claim language itself. See Docket No. 37-3 at 234. In
  comparison, when discussing the claims in the notice of allowance, the examiner stated:
           [n]one of the cited references, alone or in combination, disclose the backless,
           strapless bra with cups which include a concave interior surface having a film
           layer which supports a pressure sensitive adhesive disposed substantially from
           edge to edge on the interior surface of the film layer in addition to a connector
           between the cups as claims in claim 1.

  See Id. at 238-39 (emphasis added).                  Overall, the prosecution history, including both the
  applicant’s and examiner’s statements, supports the intrinsic evidence and the conclusion that the
  thermoplastic film material is a distinct structure.2 See Salazar v. Procter & Gamble Co., 414
  F.3d 1342, 1347 (Fed. Cir. 2005) (“Statements about a claim term made by an examiner during
  prosecution of an application may be evidence of how one of skill in the art understood the term
  at the time the application was filed.”).
           b)       Types of Materials Covered by the Claim Terms and Their Properties
           The parties also present a separate dispute regarding the types of materials that can

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    At the hearing, the parties further reiterated their dispute about the details of the prosecution history. In particular,
  Plaintiff urged that other language in one of the applicant’s office action responses showed that the applicant was
  simply distinguishing the prior art on the basis of the positioning of the thermoplastic film material relative to the
  other aspects of the bra cup. The Court is not persuaded by Plaintiff’s arguments, which still suggest the
  thermoplastic film material is a separate component from the pressure sensitive adhesive layer. Moreover, the Court
  is not using the prosecution history to determine whether the applicant disclaimed the subject matter or the scope of
  the claim terms. Rather, here, the prosecution history is further evidence consistent with the rest of the intrinsic
  record of how the PTO and the inventor understood the patent.

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  constitute the thermoplastic film material and the pressure sensitive adhesive layer. Defendants’
  proposed construction limits the thermoplastic film material to a “non-fabric plastic film.” It is
  not clear why Defendants depart from the language of the specification regarding the term
  “thermoplastic” for this aspect of their proposed construction.                         The specification, which
  Defendants cite, states, “[t]he thermoplastic film material can be any type of plastic or polymer
  that is suitable for heat lamination, such as polyurethane or the like.” ’081 Patent at 4:3-5
  (emphasis added).
             Plaintiff submits three dictionary definitions regarding the meaning of the term
  “thermoplastic.” Docket No. 38 at 8. The first is a website printout from 2018 defining
  “thermoplastic” as “capable of softening or fusing when heated and of hardening again when
  cooled.” Merriam-Webster’s Collegiate Dictionary, 11th Ed. (2018), webpage for “thermoplastic
  (adj.),” Dkt. 33-2 at 2. The second is a “Dictionary of Fiber & Textile Technology,” 7th Edition,
  defining the term as “a plastic material that is permanently fusible. The term as applied to
  manufactured fibers describes their tendency to soften at higher temperatures.” Id. at 3-4. The
  final definition is from “Fairchild’s Dictionary of Textiles,” 7th Edition, which refers to
  “thermoplastic” as “[r]eversible softening at high temperatures. Applies to many resins and
  textile fibers.”3 Id. at 6-8. Considered in conjunction with the intrinsic record, contrary to
  Plaintiff’s objections, these definitions, particularly the second definition, support the patent’s
  disclosure of a “thermoplastic film material” as a plastic or polymer material. Moreover, neither
  party appears to dispute that a thermoplastic material, as understood in the context of the patent
  and supported by the extrinsic evidence, is a material that can be heated to soften it so that it can
  bind (or fuse) to other materials.
             In their Responsive Claim Construction Brief, Defendants argue that the pressure
  sensitive adhesive layer must similarly be limited to a non-fabric material. Docket No. 39 at 12.
  However, Defendants’ cited portion of the ’081 Patent refers back to the composition of the
  thermoplastic film material, not the pressure sensitive adhesive layer. See id. (citing ’081 Patent
  at 4:3-5). Defendants provide no other basis for limiting the meaning of the pressure sensitive
  adhesive layer, and the Court declines to limit the meaning of the term.4


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   Although Plaintiff does not submit the bibliographic data for the second and third references, they appear to have
  been first published in 1999 and 1996, respectively.
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      Although both parties agreed in their briefs that the specification and claims do not preclude certain embodiments

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           c)       Conclusion
           As noted, the specification describes the thermoplastic film material as “any type of
  plastic or polymer that is suitable for heat lamination.” ’081 Patent at 4:3-4. The phrase “heat
  lamination,” however, is not a term that every lay juror will readily know and understand. But
  also as noted, the parties do not appear to dispute that the term “thermoplastic” is defined in
  dictionaries as referring to a material capable of “reversible softening” or “softening or fusing
  when heated and hardening again when cooled.” See Docket No. 37 at 9; Docket No. 38 at 8.
           In addition, in order to clarify that the “thermoplastic film material” is a separate
  component from the “pressure sensitive adhesive layer,” the Court construes the term
  “thermoplastic film material” to reflect that it is a part of the interior surface of the bra cup,
  rather than disposed on the interior surface of the bra cup like the pressure sensitive adhesive
  layer. This understanding is supported by the intrinsic record. ’081 Patent, Claim 1, Claim 2;
  see also ’081 Patent at 2:29-31 (“the preferred pressure sensitive adhesive is permanently grown
  to a thermoplastic film that comprises a portion of the interior surface of the bra cups”)
  (emphasis added); Id. at 4:12-14 (“the amount of thermoplastic film material forming the
  interior surface can vary depending on the desired design and function of the bra cups”)
  (emphasis added); Id. at 4:24-26 (“the thermoplastic film material 34 will be the layer nearest the
  user that defines the interior surface”) (emphasis added).
           Accordingly, the Court construes the term “thermoplastic film material” as “a plastic or
  polymer material that is part of the interior surface of the bra cup and is capable of softening or
  fusing when heated and hardening again when cooled.”5
           Although the parties each submit the same proposed construction for the term “pressure
  sensitive adhesive layer,” the Court finds this construction redundant of the claim language.
  Claim 1 already teaches that “the bra cup is secured to the user’s breast solely by the pressure

  where the pressure sensitive adhesive layer is made of a thermoplastic material (see Docket No. 38 at 19; Docket
  No. 39 at 11), at the hearing, the parties suggested otherwise. The Court finds no intrinsic evidence suggesting that
  the material of the pressure sensitive adhesive layer may not also be thermoplastic. In addition, contrary to what the
  Plaintiff suggests, such an embodiment does not mean that the pressure sensitive adhesive layer and the
  thermoplastic film material as claimed may be a single component.
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    At the hearing, Defendants asked the Court to revise its tentative construction to add an explicit disclosure that the
  thermoplastic film material and the pressure sensitive adhesive layer are separate components. Defendants’ request
  is already reflected in the Court’s construction, which clarifies that the thermoplastic film material is “part of the
  interior surface of the bra cup.” Moreover, Defendants’ proposed additional language is redundant of the claim
  language itself, which already separately teaches a thermoplastic film material and a pressure sensitive adhesive
  layer.

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  sensitive adhesive layer.” The Court thus concludes that no construction is necessary for the
  term “pressure sensitive adhesive layer.”
         B. Remaining Disputed Terms (“supporting” (Claim 1); “pressure sensitive adhesive
            layer” (Claims 1, 11, 12); “adhesion force” (Claim 11); “cohesion force” (Claim
            11); “greater than a cohesion force to the user’s skin” (Claim 11); “permanently
            grown to the interior surface” (Claim 12))

        Term          Plaintiff’s Proposed Construction            Defendants’ Proposed
                                                                         Construction
  “supporting”        Plain and ordinary meaning             “to bear or hold up; serve as a
  (Claim 1)                                                  foundation for”
                      Original alternative construction:
                      “to bear or hold up”

  “adhesion force”    Plain and ordinary meaning             “the force attributed to the adhesion
  (Claim 11)                                                 of the pressure sensitive adhesive
                      Original alternative construction:     layer to the thermoplastic film
                      “force attributed to the adhesion of   material supporting it”
                      the pressure sensitive adhesive
                      layer to the bra cup”

  “cohesion force”    Plain and ordinary meaning            “the force attributed to the cohesion
  (Claim 11)                                                of the pressure sensitive adhesive
                      Original alternative construction:    layer to the breast, thereby holding
                      “the force attributed to the cohesion the bra in place on the user’s
                      of the pressure sensitive adhesive    breasts”
                      layer to the user’s breast”

  “greater than a     Plain and ordinary meaning             “the force adhering the pressure
  cohesion force to                                          sensitive adhesive layer to the
  the user’s skin”    Original alternative construction:     thermoplastic film material
  (Claim 11)          “the force adhering the pressure       supporting it is stronger than the
                      sensitive adhesive layer to the bra    cohesion force of the pressure
                      cup is stronger than the cohesion      sensitive adhesive layer to the
                      force of the pressure sensitive        user’s skin”
                      adhesive layer to the user’s breast”
  “permanently        Plain and ordinary meaning             “the pressure sensitive adhesive
  grown to the                                               layer is affixed to the thermoplastic
  interior surface”   Original alternative construction:     film material supporting it
  (Claim 12)          “the pressure sensitive adhesive       permanently”
                      layer is adjoined to the interior
                      surface permanently”

         The parties’ disputes for the five remaining terms, “supporting,” “adhesion force,”


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  “cohesion force,” “greater than a cohesion force to the user’s skin,” and “permanently grown to
  the interior surface,” are all premised on the parties’ arguments regarding the term
  “thermoplastic film material.” Because the Court has concluded that the claimed “thermoplastic
  film material” must be a separate component from the claimed “pressure sensitive adhesive
  layer,” the Court understands that most of the disputes regarding these five terms are effectively
  resolved. Indeed, at the hearing, the parties did not present argument for the construction of any
  terms besides “thermoplastic film material.”
         The Court, however, is not persuaded that Defendants’ proposed constructions are
  necessary or would otherwise be helpful to the fact-finder in considering the asserted claims. For
  instance, the term “supporting” is a well-known English term. Neither party argues that the term
  is being used in a manner besides its plain and ordinary meaning in the context of the ’081
  Patent. On the other hand, the fact-finder might have benefited from an explanation of what the
  terms “adhesion” and “cohesion” mean. But rather than actually explaining the meaning of the
  phrase “adhesion force,” Defendants just rearrange the words as “the force attributed to the
  adhesion” and use the construction as a vehicle to state what components disclosed by the claim
  are being adhered to one another. Similarly, Defendants’ proposed construction for “cohesion
  force” uses the term “cohesion.” Particularly because the parties apparently “generally agree”
  (see Docket No. 39 at 13) regarding the construction for “cohesion force” and the claim language
  itself is clear (“greater than a cohesion force to the user’s skin”), the Court is again unpersuaded
  that claim construction for the term is necessary or even helpful.
         The only dispute that might remain is whether the terms “adhesion force,” “greater than a
  cohesion force to a user’s skin,” and “permanently grown to the interior surface” relate to the
  relationship between the pressure sensitive adhesive layer and the bra cup, or between the
  pressure sensitive adhesive layer and the thermoplastic film material. Although the parties’
  dispute again appears premised on whether or not the pressure sensitive adhesive layer and the
  thermoplastic film material can be considered a single component, it is not clear that Defendants’
  proposed constructions necessarily follow simply because the Court has concluded these must be
  separate components. For instance, the term “adhesion force” appears in Claim 11, which states,
  “[t]he bra of claim 1 wherein the pressure sensitive adhesive layer has an adhesion force to the
  interior surface of the bra cups that is greater than a cohesion force to the user’s skin.” ’081
  Patent, Claim 11 (emphasis added). The “interior surface” is described in Claim 1 as “facing

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  towards a user’s breast . . . wherein substantially the entire interior surface from edge to edge
  comprises a pressure sensitive adhesive layer disposed thereon.” Id. at Claim 1 (emphasis
  added). Claim 1 further states that there is “a thermoplastic film material supporting the
  pressure sensitive adhesive layer.” Id. (emphasis added). Defendant’s proposed construction
  assumes that the entire interior surface of the bra cups includes the thermoplastic film material.
  But the claim simply requires that the thermoplastic film material support the pressure sensitive
  adhesive layer, not that it must do so by covering the entire interior surface. Indeed, such an
  understanding may render Claim 2 redundant. Id. at Claim 2 (“The bra of claim 1 wherein the
  thermoplastic film material defines the interior surface.”). Requiring the the thermoplastic film
  material to cover the entire interior surface would also be inconsistent with disclosure in the
  specification. ’081 Patent at 4:10-14 (“It is understood that the amount of pressure sensitive
  adhesive covering the interior surface of the bra cups and the amount of the thermoplastic film
  material forming the interior surface can vary depending on the desired design and function of
  the bra cups.”); see also id. at 4:27-42. The Court sees no basis to construe this term by
  swapping in “thermoplastic film material” for “interior surface” and, in doing so, depart from the
  plain meaning of Claim 11 and its reference to the relationship between the pressure sensitive
  adhesive layer and the interior surface of the bra cups. For the same reasons, the Court rejects
  Defendants’ proposed construction for the phrases “greater than a cohesion force to the user’s
  skin” and “permanently grown to the interior surface.”
           For the reasons stated and others, the Court concludes that no construction is necessary
  for the claim terms “supporting,” “adhesion force,” “cohesion force,” “greater than a cohesion
  force to the user’s skin,” and “permanently grown to the interior surface.”
  IV. CONCLUSION
           Accordingly, the Court would adopt the following constructions for the disputed claim
  terms:


                       Term                                 Court’s Construction
     “thermoplastic film material” (Claims 1, “a plastic or polymer material that is part of the
     2)                                       interior surface of the bra cup and is capable of
                                              softening or fusing when heated and hardening
                                              when cooled”

     “supporting” (Claim 1)                     No construction necessary

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                      Term                             Court’s Construction
     “pressure sensitive adhesive   layer” No construction necessary
     (Claims 1, 11, 12)

     “adhesion force” (Claim 11)            No construction necessary

     “cohesion force” (Claim 11)            No construction necessary

     “greater than a cohesion force to the No construction necessary
     user’s skin” (Claim 11)

     “permanently grown to the interior No construction necessary
     surface” (Claims 12)




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